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                                       HEIDI KITROSSER
                  Northwestern – Pritzker School of Law – 357 E. Chicago Avenue
                     Chicago, IL 60611; heidi.kitrosser@law.northwestern.edu


   ACADEMIC EXPERIENCE (while tenured or tenure-track)
   Northwestern University Pritzker School of Law, Chicago, IL
   William W. Gurley Memorial Professor of Law

   Courses include Constitutional Law, First Amendment, Presidential Power and the Law,
   Government Secrecy seminar

   (Previously held several visiting professorships at Northwestern)

   University of Minnesota Law School, Minneapolis, MN
   Fall 2006 – Summer 2022
   Robins Kaplan Professor of Law (2018 – 2022); held several professorships at U. of Minnesota
   prior to Robins Kaplan professorship.

   Courses included Constitutional Law I, Constitutional Law II (Fourteenth Amendment), First
   Amendment, Government Secrecy Seminar

   University of Illinois Law School, Champaign, IL                    Spring 2014
   Visiting Professor. Taught government secrecy seminar and First Amendment.

   Brooklyn Law School, Brooklyn, NY                                        Fall 2003 – Spring 2006
   Assistant Professor. Taught constitutional law, administrative law and free speech seminar.


   AWARDS AND FELLOWSHIPS
   John Simon Guggenheim Memorial Fellowship, 2017

   2014 IIT Chicago-Kent College of Law / Roy C. Palmer Civil Liberties Prize for RECLAIMING
          ACCOUNTABILITY: TRANSPARENCY, EXECUTIVE POWER, AND THE U.S. CONSTITUTION


   BOOKS AND ARTICLES
   RECLAIMING ACCOUNTABILITY: TRANSPARENCY, EXECUTIVE POWER, AND THE U.S.
   CONSTITUTION (University of Chicago Press) (2015)
         Designated a 2015 “Outstanding Academic Title” by CHOICE, a publication of the
         Association of College and Research Libraries of the American Library Association;
         also received CHOICE‘s top rating of “essential”

   Protecting Public Knowledge Producers, Knight First Amendment Institute at Columbia
   University – chapter in forthcoming book and freestanding online publication in conjunction
   with symposium: Lies, Free Speech, and the Law (2022) (forthcoming)



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   “A Government That Benefits from Expertise”: Unitary Executive Theory and the Government’s
   Knowledge Producers, ___ Syr. L. Rev. ___ (2022) (forthcoming)

   A House Built on Sand: The Constitutional Infirmity of Espionage Act Prosecutions for Leaking
   to the Press (with David Schulz), 19 First Am. L. Rev. 153 (2021)

   “Like Nobody Has Ever Seen Before”: Precedent and Privilege in the Trump Era, 95 Chicago –
   Kent L. Rev. 519 (2020)

   On Public Employees and Judicial Buck-Passing: The Respective Roles of Statutory and
   Constitutional Protections for Government Whistleblowers, 94 Notre Dame L. Rev. 1699 (2019)

   Accountability in the Deep State, 65 UCLA L. Rev. 1532 (2018)

   Public Employee Speech and Magarian’s Dynamic Diversity, 95 Wash. U. L. Rev. 1405 (2018)

   The Shadow of Executive Privilege, 15 The Forum 547 (2017)

   Free Speech and National Security Bootstraps, 86 Fordham Law Review 509 (2017)

   Free Speech, Higher Education, and the PC Narrative 101 Minnesota Law Review 1987 (2017)

   Interpretive Modesty, 104 Georgetown L.J. 459 (2016)

   The Special Value of Public Employee Speech, 2015 Supreme Court Review 301 (2015)

   Leak Prosecutions and the First Amendment: New Developments and a Closer Look at the
   Feasibility of Protecting Leakers, 56 Wm. & Mary L. Rev. 1221 (2015)

   Free Speech aboard the Leaky Ship of State: Calibrating First Amendment Protections for
   Leakers of Classified Information, 6 J. Nat’l. Sec. L. & Pol’y 409 (2013)

   What if Daniel Ellsberg Hadn’t Bothered? 45 Ind. L. Rev. 89 (2011)

   Scientific Integrity: The Perils and Promise of White House Administration, 79 Fordham L. Rev.
   2395 (2011)

   Supremely Opaque? Accountability, Transparency, and Presidential Supremacy 5 ST. THOMAS
   JNL. L. & PUB. POL’Y 62 (2011)

   It Came From Beneath the Twilight Zone: Wiretapping and Article II Imperialism, 88 TEXAS L.
   REV. 1401 (2010)

   National Security and the Article II Shell Game, 26 CONST. COMM. 483 (2010)




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   The Accountable Executive, 93 U. MINN. L. REV. 1741 (2009)

   Accountability and Administrative Structure, 45 WILLAMETTE L. REV. 607 (2009)

   Classified Information Leaks and Free Speech, 2008 ILLINOIS L. REV. 881 (2008) [reprinted in
   First Amendment Law Handbook, 2008-09 (Thomson Reuters / West)]

   Congressional Oversight of National Security Activity: Improving Information Funnels, 29
   CARDOZO L.REV. 1049 (2008)

   “Macro-Transparency” as Structural Directive: A Look at the NSA Surveillance Controversies,
   91 MINN. L. REV. 1163 (2007)

   Secrecy and Separated Powers: Executive Privilege Revisited, 92 IOWA L. REV. 489 (2007)

   Containing Unprotected Speech, 57 FLA. L. REV. 843 (2005)

   Secrecy in the Immigration Courts and Beyond: Considering the Right to Know in the
   Administrative State, 39 HARV. C.R. – C.L. L. REV. 95 (2004) [reprinted in 25 IMMIGR. AND
   NAT’LITY L. REV. (2004)]

   From Marshall McLuhan to Anthropomorphic Cows: Communicative Manner and the First
   Amendment, 96 NW. U. L.R. 1339 (2002)

   Meaningful Consent: Toward a New Generation of Statutory Rape Laws, 4 VA. J. SOC. POL'Y &
   L. 287 (1997)


   SHORT ESSAYS AND OPINION PIECES
   On Peter Shane’s Engaged Excellence, 83 Ohio St. L.J. 199 (2022)

   The Espionage Act and Media Sources After 9/11, American Constitution Society Blog, Sept. 10,
   2021

   Media Leak Prosecutions and the Biden-Harris Administration: What Lies Ahead?, 2021 U. Ill
   L. Rev. Online Biden 100 Days 2021

   Stephanie Wolkoff’s Revelations Are Exactly What the First Amendment Should Protect, The
   Atlantic (theatlantic.com), Oct. 16, 2020

   Trump’s Political NDAs are an Abomination to the First Amendment, slate.com, July 2, 2020

   Don’t Forget the Cover-Up(s): On Trump’s Abuse of the Executive’s Secret-Keeping Powers,
   American Constitution Society Blog, September 30, 2019




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   Opinion Analysis: With Facts Like These, SCOTUSBLOG.COM, June 19, 2018

   Argument Analysis: Justices Weigh Threats to Free Speech Against Constraints on Local
   Policing, SCOTUSBLOG.COM, Feb. 28, 2018

   Argument Preview: Justices to Consider Whether Probable Cause Defeats Claims of Retaliatory
   Arrest for First-Amendment-protected Expression, SCOTUSBLOG.COM, Feb. 21, 2018

   Trust Me and Transparency Do Not Mix, 2017 ILLINOIS L. REV. ONLINE (online symposium
   about the first 100 days of the Trump administration), April 2017

   Is Speech From the Campaign Trail Relevant to Religious Discrimination Claims?, American
   Constitution Society Blog, March 20, 2017

   Leaks, Leakers, and a Free Press, HARV. L. & POL’Y REV. BLOG: NOTICE AND COMMENT, March
   9, 2017

   Accountability and Presidential Administration, ADMINISTRATIVE AND REGULATORY LAW NEWS
         (published by ABA Section of Administrative Law & Regulatory Practice) (spring 2015)

   “Book Talk” about RECLAIMING ACCOUNTABILITY: TRANSPARENCY, EXECUTIVE POWER, AND
   THE U.S. CONSTITUTION on American Constitution Society Blog, January 14, 2015



   BOOK REVIEWS
   Stopping the Presses: National Security Meets Freedom of Speech (reviewing National Security,
   Leaks & Freedom of the Press: The Pentagon Papers Fifty Years On, edited by Lee C. Bollinger
   and Geoffrey F. Stone), 106 Judicature 6 (spring 2022)

   No FOIA Is An Island, post for online symposium on Saving the Freedom of Information Act by
   Margaret Kwoka, Yale Journal on Regulation, “Notice and Comment” blog, Feb. 2, 2022

   Secret Law and the Snowden Revelations: A Response to THE FUTURE OF FOREIGN INTELLIGENCE:
   PRIVACY AND SURVEILLANCE IN A DIGITAL AGE, by Laura K. Donohue, 51 NEW ENGLAND L. REV. 5
   (2017)

   Review of SECRECY IN THE SUNSHINE ERA: THE PROMISE AND FAILURES OF U.S. OPEN GOVERNMENT
   LAW by Jason Ross Arnold, 131 POL. SCI. Q. 876 (2016 - 2017)

   Review of Whistleblowers, Leaks, and the Media: The First Amendment and National Security,
   edited by Paul Rosenzweig, Timothy J. McNulty, & Ellen Shearer, 6 INTERNATIONAL DIALOGUE
   142 (2016)


   SELECTED ACADEMIC SYMPOSIA AND PRESENTATIONS (SINCE 2011)




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   Presenter, Protecting Public Knowledge Producers, annual Freedom of Expression Scholars
   Conference at Yale Law School, May 1, 2022

   Discussant, annual Freedom of Expression Scholars Conference at Yale Law School, May 1,
   2022; April 30, 2021; October 25, 2020; April 28, 2018; April 29, 2017; May 1, 2016; May 2,
   2015; & May 5, 2013

   Presenter, Protecting Public Knowledge Producers, Knight First Amendment Institute at
   Columbia University – Symposium on Lies, Free Speech, and the Law, April 8, 2022

   Presenter, Talk on Private Speech Restrictions and Free Speech Theory, Arizona State University
   symposium on Non-Governmental Restrictions on Free Speech, March 19, 2022

   Panelist, National Security Whistleblowing and the Public Interest, (co-organized by participants
   from the University of East Anglia, Whistleblowing International Network, and Government
   Accountability Project), November 16, 2021

   Panelist, Syracuse Law Review Symposium on Executive Authoritarianism: A Celebration of
   Professor David Dreisen’s The Specter of Dictatorship, November 12, 2021

   Panelist, Yale Law School Media Freedom and Information Access Clinic’s annual Access and
    Accountability Conference, Friday, October 1st, 2021; Friday, October 23rd, 2020; October 5,
   2019; October 13, 2018; October 28, 2017

   Panelist, Yale Law School -- Abrams Institute Conversations: Fifty Years After the Pentagon
   Papers: Its Impact and Its Future (conversation with Floyd Abrams, David Rudenstine & Alan
   Rusbridger), June 15, 2021

   Panelist, “Author Meets Reader” Panel on Thomas Crocker’s book, Overcoming Necessity, Law
   & Society Association Annual Meeting, May 29, 2021.

   Presenter, A House Built on Sand: The Constitutional Infirmity of Espionage Act Prosecutions
   for Leaking to the Press, University of Kentucky Faculty Workshop, Apr. 6, 2021

   Co-presenter (with David Schulz), A House Built on Sand: The Constitutional Infirmity of
   Espionage Act Prosecutions for Leaking to the Press, annual Freedom of Expression Scholars
   Conference at Yale Law School, April 30, 2021; First Amendment Law Review Symposium,
   January 22, 2021

   Presenter, chapter from work-in-progress on U.S. government whistleblowers. Workshop on
   executive power hosted by Floersheimer Center for Constitutional Democracy, Cardozo School
   of Law, Nov. 8, 2019

   Presenter, chapter from work-in-progress on U.S. government whistleblowers. Colloquium
   hosted by Professor Margaret Kwoka (Governance Workshop: Transparency and Privacy),
   University of Denver Sturm College of Law, October 21, 2019



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   Panelist, roundtable on EU and U.S. protections for whistleblowers entitled “Empowering
   Public Voices,” Maastricht University (Brussels campus), September 20, 2019

   Lecturer on “Committing Truth in the Deep State” on occasion of my receiving the Robins
   Kaplan Professor of Law chair at University of Minnesota Law School, March 6, 2019

   Panelist, conference sponsored by NYU’s London program, entitled “Exposing Secrets: The
   Past, Present, and Future of U.S. National Security Whistleblowing and Government Secrecy,”
   January 17-18, 2019

   Keynote speaker at the University of Illinois 2018 Cline Symposium (annual event of the Cline
   Center for Advanced Social Research, 2018 theme was “Democracy, the Separation of Powers,
   and the Future of American Constitutionalism”), November 29, 2018

   Presenter, On Public Employees and Judicial Buck-Passing: The Respective Roles of Statutory
   and Constitutional Protections for Government Whistleblowers: Notre Dame Law Review
   symposium, November 2, 2018

   Presenter, early outline of book-in-progress at faculty workshops: Ohio State University Moritz
   College of Law, April 18, 2018; University of Georgia School of Law, March 7, 2018; UC
   Hastings College of the Law, November 7, 2017

   Moderator, Wayne Law Review Symposium on “Congressional Oversight in the 21st Century,”
   Mar. 23, 2018

   Panelist, Denver Law Review symposium entitled “Uproar: The Intersection of Animals and the
   Law,” February 9, 2018

   Presenter, Accountability in the Deep State, UCLA Law Review Symposium on “The Safeguards
   of our Constitutional Republic,” Feb. 2, 2018

   Presenter, Public Employee Speech and Magarian’s Dynamic Diversity, Washington University
   Law Review symposium on “The Roberts Court’s First Amendment,” January 19, 2018

   Panelist on two sessions of American Association of Law Schools 2018 Annual Meeting:
   National Security Law Section panel (January 5, 2018); Internet and Computer
   Law Section panel (January 6, 2018)

   Presenter, early outline of book-in-progress at faculty workshop, UC Hastings College of the
   Law, November 7, 2017

   Panelist, Vermont Law Review symposium on “Media Law and Journalism: Protecting
   Democracy’s Safeguards,” September 15, 2017




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   Presenter, Free Speech, Higher Education, and the PC Narrative: annual Freedom of Expression
   Scholars Conference at Yale Law School, April 29, 2017; University of Minnesota Law Review
   symposium, October 21, 2016

   Presenter, Free Speech and National Security Bootstraps, Fordham Law Review symposium,
   April 7, 2017

   Panelist, Presidential Power and Polarized Politics, Harvard Law School, April 1, 2016

   Presenter, The Special Value of Public Employee Speech: First Amendment Law Review
   symposium, University of North Carolina Law School, October 30, 2015; Freedom of
   Expression Scholars Conference at Yale Law School, May 2, 2015

   Discussant, 23rd Annual Ira C. Rothberger Conference, University of Colorado Law School,
   Boulder, CO, October 15, 2015

   Presenter, RECLAIMING ACCOUNTABILITY: TRANSPARENCY, EXECUTIVE POWER, AND THE U.S.
   CONSTITUTION (University of Chicago Press 2015): Palmer Prize Lecture, Chicago-Kent College
   of Law (November 21, 2014); Case Western Reserve Law Review symposium (November 14,
   2014); faculty workshop, DePaul University College of Law (Mar. 20, 2014); faculty workshop,
   University of Illinois Law School (Feb. 13, 2014); faculty workshop, Northwestern University
   School of Law (October 18, 2012); legal history workshop, University of Minnesota (September
   28, 2012); public law workshop, University of Minnesota (March 26, 2012); legal history
   workshop, University of Minnesota (October 7, 2011); annual Law & Society Conference (May
   30, 2010); faculty symposium, University of Texas Law School (April 10, 2010)

   Panelist, Freedom of Speech and National Security: Dialogue on Free Speech series, University
   of Texas, September 30, 2014

   Presenter, Leak Prosecutions and the First Amendment: New Developments and a Closer Look at
   the Feasibility of Protecting Leakers: William and Mary Law Review symposium, February 21,
   2014

   Presenter, Interpretive Modesty: Georgetown Law School advanced constitutional law
   colloquium, September 16, 2013

   Discussant, conference on Professor Mariah Zeisberg’s book, WAR POWERS, Georgetown
   University Law School, Washington, D.C., September 13 – 14, 2013

   Presenter, Free Speech Aboard the Leaky Ship of State: Calibrating First Amendment
   Protections for Leakers of Classified Information: Yale Law School Information Society Project
   (October 24, 2012); Northwestern University School of Law faculty scholarship day (August 28,
   2012); panel co-sponsored by Association of American Law Schools (AALS) media law and
   national security law sections, AALS annual meeting, January 7, 2012




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   Presenter, several works on secrecy and presidential power at conference, “From the Pentagon
   Papers to Wikileaks,” University of Heidelberg (Germany), American Studies Center, May 11,
   2012

   Moderator, panel on Citizens United for Minnesota Law Review symposium, October 21, 2011

   Presenter, What if Daniel Ellsberg Hadn’t Bothered? Indiana Law Review symposium, Apr. 1,
   2011

   Discussant, panel regarding executive power in the wake of 9/11, Wayne Law Review
   symposium, Wayne State University Law School, Detroit, MI, February 4, 2011


   SELECTED PUBLIC EDUCATION AND CAMPUS TALKS (SINCE 2011)
   Speaker on then-pending Supreme Court opinion in Dobbs v. Jackson Women’s Health
   Organization, Kellogg School of Management at Northwestern University, May 23, 2022,

   Panelist on discussion regarding pending Supreme Court case, West Virginia v. EPA, American
   Constitution Society Northwestern – Pritzker School of Law student chapter, March 1, 2022

   Speaker at meeting of the American Association of University Women, Minneapolis Branch, on
   topic of “Protecting and Punishing Whistleblowers,” April 12, 2021

   Moderator for discussion with Professor Jack Goldsmith, Federalist Society Northwestern –
   Pritzker School of Law student chapter, April 1, 2021

   Panelist on topic of voter suppression, American Constitution Society Northwestern – Pritzker
   School of Law student chapter, March 23, 2021

   Guest lecturer for Media Law & Government Transparency Practicum at Northwestern
   University – Pritzker School of Law, lectured on topic of National Security Leaks to the Media
   and the Reporter’s Privilege, March 19, 2021

   Speaker at Minnesota Senior College program on recent Supreme Court cases on free speech,
   Mar. 16, 2021

   Panelist at University of Minnesota diversity discussion series event on free speech and equality
   on campus, September 23, 2020

   Speaker at Minnesota Senior College program on the law of leaking and whistleblowing,
   September 17, 2020

   Speaker at Northwestern Osher Lifelong Learning program on the law of leaking and
   whistleblowing, September 16, 2020




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   Panelist at event on impeachment, co-sponsored by Penn State American Constitution Society
   and Penn State Federalist Society, Penn State Law School, January 16th, 2020

   Panelist at conference for 10th anniversary of the Government Accountability Project’s Food
   Integrity Campaign (panel on government food inspector whistleblowers), November 15, 2019

   Speaker at event on the “Mueller Report” and public and congressional access to the same
   sponsored by the American Constitution Society, University of Minnesota students’ chapter,
   April 16, 2019

   Speaker at event on emergency declarations and the U.S. presidency sponsored by the American
   Constitution Society, University of Minnesota students’ chapter, March 12, 2019

   Speaker at event on judicial nominations and the U.S. Supreme Court sponsored by the
   American Constitution Society, Minneapolis – St. Paul Lawyers’ Chapter, November 13, 2018

   Panelist at symposium on Free Speech and Campus Violence and Disruption co-sponsored by
   the Academic Engagement Network and Northwestern University -- Pritzker School of Law,
   January 25, 2018

   Speaker at event on hate speech and hate crimes on college campuses sponsored by several
   student groups, University of Minnesota Law School, March 29, 2017

   Panelist at event sponsored by several student groups: “Can Trump’s Policies Pass Constitutional
   Muster?,” University of Minnesota Law School, February 13, 2017

   Panelist at public education event on First Amendment rights sponsored by We the People
   Minnesota, January 29, 2017

   Panelist at student-organized discussion on campus hate speech, University of Minnesota Law
   School, November 14, 2016

   Panelist, University of Minnesota “Critical Conversation” on tensions between free speech and
   religion on college campuses, November 20, 2015

   Conducted 8-hour CLE program on topic of government secrecy as part of University of
   Minnesota’s summer CLE program, Minneapolis, MN, June 4, 2015

   Panelist, “Supreme Court Roundup” Panel, National Conference of State Legislatures Annual
   Legislative Summit, Minneapolis, MN, August 20, 2014

   Spoke to student chapter of American Constitution Society about progressive constitutionalism,
   University of Minnesota Law School, Minneapolis, MN, September 19, 2013

   Spoke to student chapter of American Constitution Society about government secrecy,
   Northwestern University Law School, Chicago, IL, October 29, 2012



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    Moderated discussion on constitutional challenges to the Affordable Care Act for Minnesota
    State Bar Association, health law section, St. Paul, MN, March 23, 2012

    Panelist, Executive Orders: Executive Necessity or Executive Overreach?, sponsored by
    Federalist Society, student chapter of University of St. Thomas, Minneapolis, MN, January 25,
    2012

    Spoke on panel discussing legacy of Near v. Minnesota as part of series of first amendment
    events sponsored by U. of Minn. School of Journalism & Mass Communication, Minneapolis,
    MN, November 16, 2011

    Spoke on panel regarding national security and free speech at ACLU Northwest Civil Liberties
    Conference, Portland, OR, October 28th, 2011

    Spoke to Minneapolis chapter of American Association of University Women on presidential
    power and government secrecy, Minneapolis, MN, October 17th, 2011

    Spoke to student chapter of American Constitution Society about progressive values and the U.S.
    Constitution, University of Minnesota Law School, Minneapolis, MN, September 22, 2011

    Presented lecture to student chapter of Federal Bar Association on recent free speech cases in the
    U.S. Supreme Court, University of Minnesota Law School, Minneapolis, MN, September 20,
    2011

    Presented lecture on campaign finance law and the First Amendment as part of University of
    Minnesota “Constitution Day,” Minneapolis, MN, September 16, 2011

    Spoke to Milwaukee chapter of American Constitution Society on constitutionality of federal law
    mandating individual health insurance coverage, Milwaukee, WI, July 14, 2011


    TESTIMONY
    Submitted solicited written testimony to U.S. Senate Judiciary Committee, Subcommittee on the
    Constitution, for hearing on Restoring the Rule of Law, September 16, 2008

    Testified before U.S. Senate Judiciary Committee, Subcommittee on the Constitution, in hearing
    on Secret Law and the Threat to Democratic and Accountable Government, April 30, 2008


    PRO-BONO AND OTHER NON-UNIVERSITY SERVICE WORK
    Member of steering committee for newly formed Free Expression Legal Network (FELN), a
    coalition of groups and individuals, including the Reporter’s Committee for Freedom of the Press
    and the Yale Media Freedom and Information Access Clinic, devoted to increasing both pro
    bono and practical learning opportunities tied to press freedom and information access in law
    schools.



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    Organized effort for and co-authored amicus brief on behalf of a group of constitutional law,
    First Amendment law, and media law scholars for the sentencing phase of U.S. v. Hale (E.D. Va.
    July 2021) (urging court to consider speech and press freedom implications at sentencing of
    former intelligence analyst for leaking information to the media in violation of the Espionage
    Act)

    Organized team for and co-authored amicus brief on behalf of a group of constitutional law, First
    Amendment law, and media law scholars for the sentencing phase of U.S. v. Albury (D. Minn.
    Oct. 2018) (urging court to consider speech and press freedom implications at sentencing of
    former FBI agent for leaking information to the media in violation of the Espionage Act)

    Member of the Board of Advisors, Minneapolis – St. Paul Lawyer Chapter of the American
    Constitution Society (2017 – 2019)

    Board member, Minnesota Coalition on Government Information (2015 – 2020)

    Board member, Public Record Media, Minneapolis, MN (2015 – 2020)

    Member of curriculum project faculty committee of Government Accountability Project in
    Washington, D.C. (committee develops university curricula on legal and other aspects of
    workplace whistleblowing) (2012 – 2015)

    Consulted on equal protection and standing issues for the Battered Women’s Justice Project of
    Minneapolis, MN, spring 2011

    Co-authored (with Stephen Vladeck) amicus brief on behalf of Erwin Chemerinsky in Hepting v.
    AT&T (U.S. D.Ct., N.D. Cal.) March 2007 (addressing state secrets issue in case involving
    warrantless electronic surveillance)


    PEER REVIEW WORK
    Have provided solicited peer review assistance to Oxford University Press; Cambridge
    University Press; Columbia University Press; Journal of National Security Law and Policy;
    University of California Press; American Journal of Political Science, Ethics & International
    Affairs; Language Sciences; and Polity. Regularly conduct peer review of articles as a member
    of Constitutional Commentary editorial board.


    LAW SCHOOL & UNIVERSITY COMMITTEE WORK (SINCE 2011)
    2019 – 2022: editor, Constitutional Commentary (no other committee assignments for this time
    period due to multi-year visit at Northwestern – Pritzker School of Law)

    2018-19: editor, Constitutional Commentary; co-faculty advisor to UMN student branch of
    American Constitution Society; member, appointments committee; member, diversity
    committee; 1L faculty advisor; student note advisor



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    2017-18: editor, Constitutional Commentary (no other committee assignments for the year due to
    sabbatical)

    2016-17: editor, Constitutional Commentary; co-faculty advisor to UMN student branch of
    American Constitution Society; member, admissions committee; chair, faculty recognition
    committee; 1L faculty advisor; student note advisor

    2015-16: editor, Constitutional Commentary; co-faculty advisor to UMN student branch of
    American Constitution Society; member, admissions committee; member, faculty recognition
    committee; 1L faculty advisor; student note advisor; member, University committee on public
    engagement

    2014-15: editor, Constitutional Commentary; co-faculty advisor to UMN student branch of
    American Constitution Society

    2013-14: editor, Constitutional Commentary; co-faculty advisor to UMN student branch of
    American Constitution Society; member, clerkships committee; 1L faculty advisor; student note
    advisor

    2012-13: editor, Constitutional Commentary; co-faculty advisor to UMN student branch of
    American Constitution Society

    2011-12: editor, Constitutional Commentary; faculty advisor to UMN student branch of
    American Constitution Society; member, clerkships committee; 1L faculty advisor; student note
    advisor


    EDUCATION
    YALE LAW SCHOOL, New Haven, CT                                            J.D., May 1996
    Honors: Harlan Fiske Stone Prize for Best Oral Argument, Morris Tyler Moot Court of Appeals
    Competition.
    Activities: Coker Teaching Fellow (teaching assistant for Professor Robert Gordon’s contracts
    course); Yale Journal of Law and Feminism, editor

    UCLA, Los Angeles, CA                                                    B.A., December 1992
    Honors: Phi Beta Kappa; summa cum laude


    PRE-TENURE-TRACK ACADEMIC EXPERIENCE
    Northwestern University School of Law, Chicago, IL                              Fall 2002 -
    Spring 2003
    Visiting Assistant Professor. Taught courses on First Amendment and civil procedure.

    Santa Clara University School of Law, Santa Clara, CA                             Spring 2002
    Visiting Assistant Professor. Taught courses on constitutional law and administrative law.




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    University of Oregon School of Law, Eugene, OR                                 Fall 2001
    Visiting Assistant Professor. Taught courses on administrative law and telecommunications law.

    NON-ACADEMIC WORK EXPERIENCE (since law school)
    Law and Policy Consulting, San Francisco Bay Area, CA                        Fall 2000 – Spring
    2001
    Performed full time consulting work on law and policy matters. Primary project undertaken in
    this time entailed researching and writing extensive comments and reply comments to the FCC,
    on behalf of the non-profit organization Children Now. The comments concerned the
    importation of broadcasters’ educational and informational programming requirements into the
    era of digital television, and raised significant issues of telecommunications law and policy and
    of First Amendment law.

    U.S. Court of Appeals, D.C. Circuit, Washington, D.C.                   Summer 1999 -
    Summer 2000
    Law Clerk to Judge Judith Rogers. Assisted Judge Rogers on a wide variety of civil and criminal
    matters.

    Jenner & Block, Washington, D.C.                                        Fall 1997 - Spring 1999
    Law firm associate. Wrote numerous federal court briefs concerning telecommunications
    company’s rights under 1996 Telecommunications Act; prepared lengthy First Amendment
    analysis for client; drafted significant portions of petition for review, merits and reply briefs in
    appeal of habeas corpus decision in death penalty case. Also participated extensively in public
    housing discrimination class action on behalf of pro bono plaintiffs, including drafting class
    settlement notice, participating in all settlement negotiations, drafting summary judgment
    motions, defending depositions, and communicating with named plaintiffs.

    U.S. District Court, Central District of California, Los Angeles, CA            Fall 1996 -
    Fall 1997
    Law Clerk to Judge William Rea. Assisted Judge Rea on a wide variety of civil and criminal
    matters.

    BAR ADMISSION
    California (active)




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                                          MARK J. ROZELL
                                           Founding Dean
                               Schar School of Policy and Government
                           Ruth D. and John T. Hazel Chair in Public Policy
                                      George Mason University

    Faculty/Administrative Positions

    George Mason University, 2004-present (Professor of Public Policy, 2004-2016; Hazel Chair 2016-
    present; Acting Dean 2013-2016; Dean, 2016-present).

    Ordinary Professor of Politics, The Catholic University of America, 1999-2004 (Department Chair,
    2002-2004; director of off-campus graduate programs 1999-2002).

    Associate Professor of Political Science, The American University, 1995-1998.

    Associate Professor of Political Science (1991-1995), Assistant Professor (1986-1990), Mary
    Washington College.


    Publications

           Written and Co-Written Books (and updated editions):

           African American Statewide Candidates in the New South. New York: Oxford University
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           Executive Privilege: Presidential Power, Secrecy and Accountability (revised and updated
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          York: Palgrave-MacMillan Press, 2018 (with Blandine Chelini-Pont and Marie Gayte).

          God at the Grass Roots, 2016: The Christian Right in American Elections. Lanham, MD:
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    Visiting Professor, Akita International University. Taught “The Relationship Between Religion,
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    “Principles and Operations of the Decentralized Governing System in the United States”.
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    East, September 22, 2008, Guwahati, India.

    “The 2008 U.S. Presidential Election: The Policy Positions of the Candidates”. Presented at the
    Department of Political Science, Guwahati University, September 22, 2008, Guwahati, India.

    “Immigration, Integration and the Political Process: Presented at the Deutsche Gesellschaft
    (Intercultural Summer School), August 18, 2008, Berlin, Germany.

    Faculty lecturer, Wittenberg Summer Program “The 2008 U.S. Elections”, August 10-16, 2008,
    Martin Luther University, Wittenberg, Germany.

    “The Role of Religion in the Public Arena in the U.S.” Presented at the Islamic Research Center,
    May 12, 2008, Istanbul, Turkey.

    “Religion and Politics in the U.S.”. Presented at Fatih University, May 12, 2008, Istanbul,
    Turkey.

    “The Religious Conservative Movement in U.S. Politics”. Presented at the conference, “The
    Conservative Movement in America”, May 8-10, 2008, Oxford University, Oxford, England.

    “The U.S. Christian Right and the Politics of Abortion”. Presented at the conference “In God
    They Trust?: Religion and Politics in the U.S. and Germany”, Freidrich Ebert Stiftung, June 21-
    22, 2007, Berlin, Germany.

    “Religion and the Bush Presidency” and “Demystifying the Christian Right”. Presented at the
    First Wittenberg Summer School program “Religion and Politics in the U.S.”, July 30-August 5,
    2006, Martin-Luther University, Wittenberg, Germany.

    “The Christian Right in Comparative Perspective”. Presented at the annual meeting of the
    International Institute of Sociology, July 5-9, 2005, Stockholm, Sweden.



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    Program fellow, Salzburg Seminar, “East Asia and the United States: A Search for Common
    Values”, June 13-18, 2005, Schloss Leopoldskron, Salzburg, Austria.

    “Religion and U.S. Politics”, journalists/scholars forum sponsored by U.S. Consulate, June 13,
    2005, Munich, Germany (with Clyde Wilcox).

    “Will Bush Win?: A View from Washington”. Presented at the Finnish Business Forum, October
    15, 2004, Helsinki, Finland.

    “The Christian Right and Interest Group Politics in the U.S.” Presented at the University of Turku,
    October 14, 2004, Turku, Finland.

    “The Christian Right and Interest Group Politics in the U.S.” Presented at the American Studies
    Program, University of Helsinki, October 13, 2004, Helsinki, Finland.

    “The U.S. Presidential and Congressional Elections”. Presented at the German Council on Foreign
    Affairs, June 24, 2004, Berlin, Germany.

    “The U.S. 2004 Elections”. Presented at the Amerika House U.S. elections program, June 22, 2004,
    Munich, Germany.

    “Religion, Politics, and the American Elections”. Presented at the University of Eichstaett, June 21,
    2004, Eichstaett, Germany.

    “Religious Pluralism and Fundamentalism in the U.S.”. Presented at the conference “Religious
    Cultures: Communities of Belief”, sponsored by the Bavarian-American Academy, June 16-18,
    2004, Munich, Germany.

    “The Religious Right in the 2004 Presidential Election”. Presented at the conference “U.S. Elections
    2004: Personalities, Policies and Perspectives” at the Center for the Study of the Americas,
    Copenhagen Business School, May 4-5, 2004, Frederiksberg, Denmark.

    “A Preview of the 2004 U.S. Elections”. Presented at the U.S. Embassy, May 3, 2004, Copenhagen,
    Denmark.

    “In God They Trust? The Fundamantalist Right in the U.S.”. Presented at the Einstein Forum,
    November 21, 2003, Potsdam, Germany.

    “The 2004 U.S. Presidential Campaign: What’s in the Cards?” Presented at the Konrad Adenauer
    Stifung, November 20, 2003, Berlin, Germany.

    “Religion and Politics in the U.S.” Presented at the Amerika Haus, November 20, 2003, Cologne,
    Germany.



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    “The 2004 U.S. Presidential Campaign: What’s in the Cards?” Presented at Das Amerika-Institut,
    Munich University, November 19, 2003, Munich, Germany.

    “The 2004 U.S. Presidential Campaign: What’s in the Cards?” Presented at the U.S. Consulate
    General, November 19, 2003, Munich, Germany.

    “Religion and Politics in the U.S.” Presented at the graduate program in Kulturhermeneutik,
    Universitat Erlangen-Nuremberg, November 18, 2003, Nuremberg, Germany.

    “Religion and Politics in the U.S.” Presented at the German-American Institute, November 17,
    2003, Stuttgart, Germany.

    “Extremism or Pragmatism: What is the Future of the U.S. Christian Right”. Presented at the annual
    meeting of the European Consortium for Political and Social Research, September 17-21, 2003,
    Marburg, Germany.

    “Influence, Values, and Professional Responsibility in the Media”. Conference Fellow at the
    Salzburg Seminar, Schloss Leopoldskron, March 19-26, 2003, Salzburg, Austria.

    “Race and Evangelical Political Beliefs in the U.S.” Presented at the annual Multi-Ethnic Studies in
    Europe and the Americas Conference, June 26-29, 2002, Padua, Italy (with Clyde Wilcox).

    “Religious Group Political Mobilization in the U.S.” Presented at the 35th World Congress of the
    International Institute of Sociology, July 11-16, 2001, Krakow, Poland (with Clyde Wilcox).

    “Presidential Leadership and the Clinton Legacy”. Presented at the annual meeting of the British
    Association of American Studies, April 5-9, 2001, Keele, England.

    “The Christian Right in the 2000 Elections”. Presented at the 50th International Conference of
    Americanists, July 10-14, 2000, Warsaw, Poland.

    U.S. Conferences/Presentations:


    “Executive Privilege and the Trump Presidency”. Presented at the annual meeting of the
    American Political Science Association, August 31, 2019, Washington, DC. (with Mitchel A.
    Sollenberger).

    “The Religion Factor in Explaining Support for Presidents and Presidential Leadership.” Faith
    and Leadership Lecture, Ashland University, March 25, 2019, Ashland, Ohio.




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    “Fundraising in Schools of Public Affairs and Public Policy”. Panel discussion at the annual
    meeting of the National Association of Schools of Public Affairs and Administration, October
    12, 2017, Washington, DC.

    “The Catholic Vote in the United States”. Lecture at St. Michael’s College, November 1, 2016,
    Burlington, VT.

    “Partisan Loyalty and the Pursuit of Power”. Presented at the “Living Ethics” lecture series,
    Science Museum of Virginia, October 12, 2016, Richmond, VA.

    “Interest Groups in U.S. Politics”. Seminar leader for secondary school teacher education
    program at Montpelier, October 7-9, 2016, Montpelier, VA.

    “The Presidency and Separation of Powers”. Claremont College Institute of Leadership
    conference, May 8-10, 2014, Claremont, CA.

    “Religion, the U.S. Presidency and the 2012 Elections”. Hundere lecture presented at Oregon
    State University, October 19, 2012, Corvallis, OR.

    “The Conservative Catholic-Evangelical Alliance in the GOP”. Presented at the program on
    “Catholics and the 2008 Elections”, The Catholic University of America, October 22, 2008,
    Washington, DC.

    “Executive Power and the Bush Presidency”. Annual Constitution Day lecture presented at
    Rochester Institute of Technology, September 16, 2008, Rochester, NY.

    “Religion and Politics in America”. Presented at the program “Religious Freedom in a Secular
    Society: How Religion and Government Relate to Each Other in the U.S. and China”, sponsored
    by The Faith & Politics Institute, September 10, 2008, Rayburn House Office Building,
    Washington, DC.

    “The Political Alliance of Conservative Catholics and Evangelicals.” Presented at the
    conference, “Catholics and Politics”, Loyola Marymount University of L.A., February 12, 2007,
    Los Angeles, CA.

    “Executive Privilege in the Modern Era”. Presented at the conference in honor of Lloyd Cutler at
    University of Virginia School of Law, November 11, 2006, Charlottesville, VA.

    “The Christian Right and the Politics of Abortion”. Presented at the conference
    “Fundamentalism and the Rule of Law” at Cardozo School of Law, March 14-15, 2006, New
    York, N.Y.

    “The Media and Civic Engagement.” Presented at the Urban Affairs Association annual conference,
    March 31-April 3, 2004, Washington, DC.



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    “History Tells All, Or Does It?: Executive Privilege and the Presidency”. Presented at the Knight
    Center for Specialized Journalism conference “Government Secrecy: Local, State, National”,
    September 8, 2003, College Park, MD.

    “Executive Privilege Revived: Secrecy and Conflict during the Clinton and Bush Presidencies”.
    Presented at the Duke Law Journal 32nd Annual Administrative Law Conference, March 29-30,
    2002, Durham, N.C.

    “Interest Group Innovations in Campaign Finance”. Presented at the annual meeting of the Southern
    Political Science Association, November 8-11, 2001, Atlanta, Ga. (with Michael Malbin, Richard
    Skinner, and Clyde Wilcox).

    “The Christian Right in Virginia”. Presented at the annual meeting of the American Political
    Science Association, August 30-September 2, 2001, San Francisco, CA.

    “The Christian Right: Evolution, Expansion, Contraction”. Presented at the conference
    “Evangelicals and Public Life”, June 17-19, 2001, Cape Elizabeth, Maine.

     “The Clinton Legacy: An Old (or New) Understanding of Executive Privilege?” Presented at the
    annual meeting of the American Political Science Association, August31-September 3, 2000,
    Washington, D.C.

    “Executive Privilege: Time to Move beyond Berger”. Presented at the annual meeting of the
    Midwest Political Science Association, April 27-30, 2000, Chicago, Ill.

    “Bush, Thatcher and Managing the End of the Cold War”. Presented at the Conference “The
    Thatcher Years: Rebirth of Liberty?” at Hofstra University, March 27-28, 2000, Hempstead, N.Y.
    (with Ryan Barrilleaux).

    “Catholics and the Christian Right: A View from Four States”. Presented at the annual meeting of
    the American Political Science Association, September 2-5, 1999, Atlanta, Ga. (with John C. Green,
    Mary Bendyna, and Clyde Wilcox).

    “Executive Privilege: 25 Years After Nixon”. Presented at the University of Minnesota Law School
    Forum, “U.S. v. Nixon 25 Years Later”. University of Minnesota Law School, October 24, 1998,
    Minneapolis, MN.

    “George Washington and the Origins of Executive Privilege”. Presented at the conference
    “Washington’s Life, Times, and Legacy.” Louisiana State University – Shreveport, September 18-
    19, 1998, Shreveport, La.




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    "Catholics in the Christian Right". Presented at the annual meeting of the American Political
           Science Association, September 3-6, 1998, Boston, MA (with John C. Green, Mary
           Bendyna and Clyde Wilcox).

    "Media Coverage of Women Gubernatorial Candidates." Presented at the annual meeting of the
          Southern Political Science Association, November 6-8, 1997, Norfolk, VA (with John
          David Rausch).

    "The Media and the Bush Presidency." Presented at the Tenth Presidential Conference - "George
          Bush: 41st President of the U.S.," Hofstra University Cultural Center, April 17-19, 1997,
          Hempstead, New York.

    "Christian Right Mobilization in the 1996 Virginia Elections." Presented at the annual meeting of
            the Western Political Science Association, March 13-15, 1997, Tucson, Arizona.

    "The 'Congressionalization' of State Legislative Races." Presented at the annual meeting of the
           Southern Political Science Association, November 7-9, 1996, Atlanta, Ga. (with G. Patrick
           Lynch).

    "The Political Maturation of the New Christian Right." Presented at the Calvin Center for Christian
           Scholarship conference, "The Politics of the Christian Right," October 4-5, 1996, Grand
           Rapids, Michigan.

    "Secrecy in the Bush Presidency." Presented at the annual meeting of the American Political
           Science Association, August 29-September 1, 1996, San Francisco, California.

    "The Public Presidency of George Bush." Presented at the annual meeting of the Western Political
           Science Association, March 14-16, 1996, San Francisco, California.

    "Religious Coalitions in the Christian Right: The Decline of Religious Particularism." Presented at
           the Tenth Citadel Conference on Southern Politics, March 7-8, 1996, Charleston, S.C. (with
           John C. Green and Clyde Wilcox).

    "A GOP Gender Gap?" Presented at the annual meeting of the Southern Political Science
         Association, November 1-4, 1995, Tampa, Florida (with Clyde Wilcox).

    "FDR and the Prerogative Presidency." Presented at the conference, "FDR After 50 Years,"
          September 14-16, 1995, Louisiana State University-Shreveport.

    "Faith, Hope and Conflict: Religious and State Republican Activists in 1994." Presented at the
            annual meeting of the American Sociological Association, August 18-22, 1995,
            Washington, D.C. (with John C. Green and Clyde Wilcox).




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    "Religious Coalitions in the New Christian Right." Presented at the annual meeting of the
           Association for the Sociology of Religion, August 18-20, 1995, Washington, D.C. (with
           Clyde Wilcox).

    "The Christian Right and the Virginia GOP: Holy Alliance or Marriage of Convenience?"
          Presented at the annual meeting of the Western Political Science Association, March 16-18,
          1995, Portland, Oregon (with Clyde Wilcox).

    "Local v. National Press Coverage of Virginia's 1993 Gubernatorial Campaign." Presented at the
           Ninth Citadel Conference on Southern Politics, March 4-5, 1994, Charleston, South
           Carolina (with Harry Wilson).

    "Executive Privilege in the Post-Watergate Era: President Ford and the Nixon Legacy." Presented
           at the annual meeting of the Southern Political Science Association, November 3-6, 1993,
           Savannah, Georgia.

    "Executive Privilege in the Bush Administration." Presented at the White Burkett Miller Center for
           the Study of the Presidency, September 15, 1993, Charlottesville, Virginia.

    "Press Coverage of Congress: 1946-1992." Presented at the Conference, "Congress, the
           Press, and the Public," Sponsored by the Renewing Congress Project of the
           American Enterprise Institute and the Brookings Institution, Washington, D.C., May
           13, 1993.

    "Executive Privilege in the Reagan Administration." Presented at the Ninth Presidential Conference
           - "Ronald Reagan: 40th        President of the United States," Hofstra University Cultural
           Center, Hempstead, New York, April 22-24, 1993.

    "Presidential Exercise of Executive Privilege in the Post-Watergate Presidency." Presented at the
           annual meeting of the Southwestern Political Science Association, New Orleans, Louisiana,
           March 17-20, 1993.

    "Professional Objectivity: Where Do Virginia's Political Journalists Draw the Line?" Presented at
    the annual meeting of the Southern Political Science Association, Atlanta, Georgia, November 5-8,
    1992.

    "Executive Prerogative and American Constitutionalism: In Defense of the Lincolnian View."
           Presented at the conference, "Lincoln's Life, Times, and Legacy," Louisiana State
           University, Shreveport, Louisiana, September 17-18, 1992.

    "Press Freedom v. Governmental Secrecy in the Persian Gulf War." Presented at the annual
           meeting of the Western Political Science Association, March 19-21, 1992, San Francisco,
           California.




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    "Press Coverage of a Local Campaign: The 1991 Fairfax County (Virginia) Board of Supervisors
           Chairman Election." Presented at the Eighth Citadel Conference on Southern Politics,
           March 5-6, 1992, Charleston, South Carolina.

    "The Press-Presidency Relationship: A Look Inside the Ford and Carter White Houses." Presented
           at the White Burkett Miller Center for the Study of the Presidency, February 18, 1992,
           Charlottesville, Virginia.

    "The Dilemma of Executive Privilege." Presented at the annual meeting of the Southern Political
          Science Association, November 7-10, 1991, Tampa, Florida.

    "The Press Strategies of Presidents Ford, Carter and Reagan." Presented at the annual meeting of the
           Western Political Science Association, March 21-23, 1991, Seattle, Washington.

    "Carter Rehabilitated: What Caused the 39th President's Press Transformation?" Presented at the
            Eighth Presidential Conference - "Jimmy Carter: Keeping Faith," November 14-17, 1990,
            Hofstra University Cultural Center, Hempstead, New York.

    "Press Coverage of Abortion and Race in the 1989 Virginia Gubernatorial Campaign." Presented at
           the annual meeting of the American Political Science Association, August 30 - September 2,
           1990, San Francisco, California.

    "So Who Changed? Jimmy Carter or the Press?" Presented at the annual meeting of the Western
          Political Science Association, March 20-22, 1990, Long Beach, California.

    "Local v. National Press Assessments of Virginia's 1989 Gubernatorial Campaign." Presented at
           the Seventh Citadel Conference on Southern Politics, March 9-10, 1990, Charleston, South
           Carolina.

    "Presidential Journalism During the Ford-Carter Years." Presented at the annual meeting of the
           American Political Science Association, August 29 - September 1, 1989, Atlanta, Georgia.

    "In Defense of President Ford's Pardon of Richard M. Nixon." Presented at the Seventh Presidential
           Conference - "Gerald R. Ford: Restoring the Presidency," April 6-8, 1989, Hofstra
           University Cultural Center, Hempstead, New York.

    "Presidential Prerogative During Wartime and the Public's 'Right-to-Know.'" Presented at the
           annual meeting of the American Political Science Association, September 1-4, 1988,
           Washington, D.C.

    "President Nixon's Conception of Executive Privilege: Defining the Scope and Limits of Executive
           Branch Secrecy." Presented at the Sixth Presidential Conference - "Richard Nixon: A
           Retrospective on His Presidency," November 19-21, 1987, Hofstra University Cultural
           Center, Hempstead, New York.



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    Media Appearances/Interviews

    National/International. PBS “Jim Lehrer News Hour”, ABC "Nightline," ABC "World News
    Tonight," ABC "World News Sunday," ABC “Good Morning America”, NBC "Today Show,"
    NBC "Nightly News," CBS "Evening News," CNN "Inside Politics," CNN "Headline News," NPR
    "All Things Considered," BBC, CBC, Reuters, Reuters America TV, Associated Press, Knight-
    Ridder, Bloomberg News, Gannet News Service, Scripps-Howard News Service, Pacifica Radio
    News, ABC Radio, CBS Radio, NBC Radio, Congressional Quarterly Weekly Report, National
    Journal, Legal Times, National Law Journal, The Hill, Lingua Franca, New York Times,
    Washington Post, Wall Street Journal, L.A. Times, Boston Globe, Chicago Tribune, Milwaukee
    Journal, St. Petersburg Times, San Francisco Chronicle, Houston Chronicle, Newsday, Charlotte
    Observer, Atlanta Journal & Constitution, Philadelphia Inquirer, Minneapolis Tribune, Detroit
    News, U.S. News & World Report, London Independent, London Financial Times, Toronto Globe
    & Mail, Le Presse, Tokyo Shinbun, National Post of Canada, New Republic, National Review,
    Education Week, American Prospect, among many others.

    GRANTS

    2012-2013: $262,000 – U.S. State Department. Co-directed a six weeks study program at GMU for
    students from Kazakhstan, Libya and Mongolia.

    2009: $160,000 - U.S. State Department/Academy for Educational Development, "Studies of U.S.
    Institutes: China 30X30". Co-directed three-week study program at GMU for thirty undergraduate
    students from China.

    Academic Awards and Fellowships

    GMU School of Public Policy Alumni Association Outstanding Faculty Member (2010)
    American University School of Public Affairs Outstanding Scholar Award (1997-1998)
    Nominee, State Council of Higher Education Outstanding Teacher Award (1994-1995)
    Dirksen Congressional Center Grant (1995)
    Earhart Foundation Grant (1994)
    Lynde and Harry Bradley Foundation Fellowship (1992)
    National Endowment for the Humanities Summer Fellowship (1991)
    American Political Science Association Small Research Grant (1994-1995) and (1989-1990)
    Gerald R. Ford Foundation Fellowship (1989-1990)

    Manuscript Reviewer

    American Journal of Political Science, Polity, Political Research Quarterly, Presidential Studies
    Quarterly, Social Science Quarterly, Congress & the Presidency, State and Local Government
    Review, PS: Political Science and Politics, Harvard International Journal of Press/Politics, Political
    Communication, Political Methodology, Southeastern Political Review, Journal for the Scientific



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    Study of Religion, Sociology of Religion, University of Michigan Press, Peacock Publishers,
    University Press of Kansas, Harper-Collins Publishers, Texas A&M University Press, Rowman &
    Littlefield, McGraw-Hill, Prentice-Hall, Congressional Quarterly Press, among many others.

    Professional Associations and Service

    Co-editor of Palgrave MacMillan Press book series on religion and politics (2012-present)
    Co-editor of Georgetown University Press series on religion and politics (2003-2012)
    Academic Advisory Board, Campaign Finance Institute (2000-2014)
    Council, Presidency Research Group of APSA (1998-2001)
    Editorial Board member, International Journal of Political Science & Diplomacy (2016-present)
    Editorial Board member Anthenaeum: Polish Political Science Studies (2011-present)
    Editorial Board member, Journal of Political Marketing (2000-present)
    Editorial Board member, PS: Political Science and Politics (1994-1997)
    Executive Council: National Capitol Area Political Science Association (1995-1998)
    Committee: Gerald R. Ford Award for Distinguished Reporting on the Presidency (1995-present)
    Board member, Institute for Leadership, Hampden-Sydney College (1996-2000)

    Courses Taught

    Undergraduate: Presidency; Congress; Presidency & Congress; Separation of Powers; Media &
    Politics; Introduction to American Government; Public Policy; Introduction to Political Science;
    Graduate: Congress; Presidency & Congress; Legislative-Executive Relations; Media & Congress;
    Media and Politics; Media and Public Policy; Graduate Introduction to American Politics; Theory
    and Practice in Public Policy; Governance and the Policy Process; US National Institutions;
    Religion and Public Policy.

    Education

    Ph.D., 1987, University of Virginia (Politics)
    M.A., 1983, University of Virginia (Public Administration)
    B.A., 1982, Eisenhower College (Political Science)


    Visiting Appointment

    Visiting professor of global studies, Akita International University, June 2015, Akita, Japan. Taught
    seminar on religion and U.S. government and politics.




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                                         JONATHAN DAVID SHAUB


    ACADEMIC APPOINTMENTS
    UNIVERSITY OF KENTUCKY J. DAVID ROSENBERG SCHOOL OF LAW
    Assistant Professor of Law, Fall 2020 – present
            Classes Taught: Constitutional Law I & II, Federal Courts, Presidential and Executive
            Power; Law & Inequality (co-taught)
            Committees & Service: Curriculum, Appointments & Clerkship Committees

    PUBLICATIONS AND WORKS IN PROGRESS

    What the January 6 Investigation Taught Us About Executive Privilege, 38 CONST. COMM. ___ (2023)
           (in progress – invited submission)
    There Is No Presidential Communications Privilege (in progress)
    Interbranch Cases in Equity, 25 U. PENN. J. CONST. L. ___ (2023) (forthcoming)
    The Executive’s Privilege, 70 DUKE L.J. 1 (2020)
    Expatriation Restored, 55 HARV. J. LEGIS. 363 (2018)
    Delegation Enforcement by State Attorneys General, 52 U. RICH. L. REV. 653 (2018)
    Children’s Freedom of Speech and Expressive Maturity, 36 LAW & PSYCHOL. REV. 191 (2012)
    A Positive Theory and Empirical Analysis of Strategic Word Choice in District Court Opinions,
        4 J. LEGAL ANALYSIS 407 (2012) (with Rachael Hinkle, Andrew Martin, & Emerson Tiller)
    Note, A Foucauldian Call for the Archaeological Excavation of Discourse in the Post-Boumediene Habeas
           Litigation, 105 NW. U. L. REV. 869 (2011)

    SELECTED PRESENTATIONS AND ONLINE CONTRIBUTIONS

    “Executive Privilege Is Lawless,” The Atlantic (Jan. 20, 2022),
          https://www.theatlantic.com/ideas/archive/2022/01/executive-privilege-does-not-have-to-
          be-lawless/621315/
    “The Jan. 6 Committee Should Take Its Time With Mark Meadows,” Lawfare (Nov. 2, 2021
           1:07 PM), https://www.lawfareblog.com/jan-6-committee-should-take-its-time-mark-
           meadows
    “Executive Privilege and the Jan. 6 Investigation,” Lawfare (Sept. 29, 2021 8:01 AM),
          https://www.lawfareblog.com/executive-privilege-and-jan-6-investigation
    “Why the McGahn Agreement is a Devastating Loss for Congress,” Lawfare (May 19, 2021
          11:47 AM), https://www.lawfareblog.com/why-mcgahn-agreement-devastating-loss-
          congress
    “The D.C. Circuit Got History Wrong in its McGahn Decision,”, Lawfare, (Sept. 3, 2020 10:10 AM),
          https://www.lawfareblog.com/dc-circuit-got-history-wrong-its-mcgahn-decision
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    “Executive Privilege Should Have No Power When It Comes to an Impeachment,” The Atlantic,
          (Nov. 15, 2019), https://www.theatlantic.com/ideas/archive/2019/11/no-executive-
          privilege-in-impeachment/602044
    “The Prophylactic Executive Privilege,” Lawfare Blog (June 14, 2019 5:18 PM),
           https://www.lawfareblog.com/prophylactic-executive-privilege
    “Testimonial Immunity, Executive Privilege and the President’s Authority Over Former Officials,”
           Lawfare Blog (May 22, 2019 6:34 PM), https://www.lawfareblog.com/testimonial-immunity-
           executive-privilege-and-presidents-authority-over-former-officials
    “What Is a ‘Protective’ Assertion of Executive Privilege?” Lawfare Blog (May 8, 2019 8:23 PM),
           https://www.lawfareblog.com/what-protective-assertion-executive-privilege
    “Executive Privilege and Compelled Testimony of Presidential Advisers: Don McGahn’s Dilemma,”
          Lawfare Blog (May 3, 2019 10:04 AM), https://www.lawfareblog.com/executive-privilege-
          and-compelled-testimony-presidential-advisers-don-mcgahns-dilemma
    “‘Masters from Two Equal Branches of Government’: Trump and Congress Play Hardball,” Lawfare
           Blog (Apr. 27, 2019 10:00 AM), https://www.lawfareblog.com/masters-two-equal-branches-
           government-trump-and-congress-play-hardball
    Presentation: Ideology and Linguistic Markers in Supreme Court Majority Opinions at “Text Analysis and
           Law Conference,” Northwestern University Kellogg School of Management, April. 2019
    “Hoda Muthana and Shamima Begum: Citizenship & Expatriation in the U.S. and U.K.,” Lawfare
          Blog (Feb. 25, 2019 9:00 AM), https://www.lawfareblog.com/hoda-muthana-and-shamima-
          begum-citizenship-and-expatriation-us-and-uk
    Presentation: Delegation Enforcement by State Attorneys General, at Symposium: “Defining the
           Constitution’s President Through Legal & Political Conflict,” University of Richmond
           School of Law, Oct. 2017
    Presentation: A Positive Theory and Empirical Analysis of Strategic Word Choice in District Court Opinions,
        at Positive Political Theory Colloquium, Northwestern Pritzker School of Law, Feb. 2012, and
         at Conference on Judicial Collegiality: Positive Theories and Empirical Analyses, University of
         Southern California, Gould School of Law, Nov. 2011
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    EDUCATION
    NORTHWESTERN PRITZKER SCHOOL OF LAW
    J.D., magna cum laude, May 2011
        Honors       John Paul Stevens Award for Academic Excellence (highest GPA in graduating class)
                     Order of the Coif
                     Wigmore Key (graduate most exemplifying law school’s traditions)
                     Honors for Senior Research with Professor Martin H. Redish
                     2010 Julius H. Miner Moot Court Semifinalist
        Activities   Northwestern University Law Review, Executive Articles Editor, 2010-2011
                     Problem Editor, 2011 Julius H. Miner Moot Court Executive Board

    BELMONT UNIVERSITY
    M.A., English (Literature & Creative Writing), December 2010 (part-time program)

    VANDERBILT UNIVERSITY
    B.A., Philosophy & Religious Studies (English & Astronomy minors), magna cum laude, May 2003
        Honors        Larry Cathey Award (outstanding undergraduate student in Astronomy)
        Activities    Division I-A football (safety); three-year letterman; two-year starter

    CLERKSHIPS AND FELLOWSHIPS

    Office of the Solicitor General, U.S. Department of Justice, Washington, DC
    Bristow Fellow, July 2012 to July 2013

    Honorable Paul V. Niemeyer, U.S. Court of Appeals for the Fourth Circuit, Baltimore, MD
    Law Clerk, August 2011 to July 2012

    OTHER LEGAL EXPERIENCE

    Office of the Tennessee Attorney General
    Assistant Solicitor General, August 2017 to June 2020

    Office of Legal Counsel, U.S. Department of Justice, Washington, DC
    Attorney-Adviser, July 2014 to June 2017
                  2016 John Marshall Award recipient (highest award given to attorneys) in 2016
                  Held TS/SCI security clearance

    Hogan Lovells US LLP, Washington, DC
    Associate, Appellate & Supreme Court Litigation, September 2013 to July 2014

    ADMISSIONS

    Tennessee, 2017                                             U.S. Court of Appeals, Sixth Circuit 2018
    Illinois, 2012                                              U.S. Court of Appeals, D.C. Circuit 2013
    U.S. Supreme Court, 2017                                    U.S. Court of Appeals, Fourth Circuit, 2012
    U.S. District Court, Middle District TN 2019                U.S. District Court, District of MD, 2011
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                                        Mitchel A. Sollenberger
                                      msollenb@umich.edu
    _____________________________________________________________________________________
    Education

          Ph.D. Catholic University; Politics; September 2006; Awarded with Distinction

          M.A.    Catholic University; Politics; December 2001 (American Politics)

          B.A.    Fairfield University; Politics; May 2000 (Minors: Legal Studies and Philosophy)

    _____________________________________________________________________________________
    Professional Experience

          Associate Provost of Undergraduate Education and Student Success, University of Michigan-
          Dearborn, February 2018-Present

          Interim Vice Provost of Enrollment Management, University of Michigan-Dearborn, June 2019-
          August 2019

          Associate Provost of Undergraduate Programs and Integrative Learning, University of
          Michigan-Dearborn, September 2013-January 2018

          Interim Director of the Office of Institutional Research, University of Michigan-Dearborn
          February 2016-September 2018

          Professor (with tenure), University of Michigan-Dearborn
          September 2016-Present

          Associate Professor (with tenure), University of Michigan-Dearborn
          September 2012-August 2016

          Assistant Professor, University of Michigan-Dearborn
          September 2008-August 2012

          Visiting Assistant Professor and Undergraduate Director, George Mason University
          August 2007-August-2008

          Instructor, Bowling Green State University
          August 2006-May 2007

          Analyst in American National Government, Congressional Research Service
          April 2001-September 2004

    _____________________________________________________________________________________
    Authored Books

          The Unitary Executive Theory: A Danger to Constitutional Government (University Press of
          Kansas, 2020) (With Jeff Crouch and Mark J. Rozell)
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          Executive Privilege: Presidential Power, Secrecy, and Accountability (University Press of
          Kansas, 2020) (With Mark J. Rozell)

          The President’s Czars: Undermining Congress and the Constitution (University Press of Kansas,
          2012) (With Mark J. Rozell)

          Judicial Appointments and Democratic Controls (Carolina Academic Press, 2011)

          The President Shall Nominate: How Congress Trumps Executive Power (University Press of
          Kansas, 2008)

    _____________________________________________________________________________________
    Articles

          “The Unitary Executive Theory and President Donald J. Trump,” Presidential Studies Quarterly,
          vol. 47, Sept. 2017 (With Jeffrey Crouch and Mark J. Rozell)

          “Presidential Studies, Behavioralism, and Public Law,” Presidential Studies Quarterly, vol. 44,
          Dec. 2014

          “The Origins and Development of Executive Branch Czars,” Journal of Policy History, vol. 25,
          Fall 2013 (With Mark J. Rozell)

          “President Obama's Signing Statements and the Expansion of Executive Power,” Presidential
          Studies Quarterly, vol. 43, Dec. 2013 (With Jeff Crouch and Mark Rozell)

          “Louis Fisher: Government and the Academy,” Political Science & Politics, vo. 46, July 2013

          “Obama’s Executive Branch Czars: The Constitutional Controversy and a Legislative Solution,”
          Congress & the Presidency, vol. 29, Jan.-April 2012 (With Mark J. Rozell)

          “Prerogative Power and Executive Branch Czars: President Obama’s Signing Statement,”
          Presidential Studies Quarterly, vol. 41, December 2011 (With Mark J. Rozell)

          “The Blue Slip: A Theory of Unified and Divided Government,” Congress & the Presidency, vol.
          37, May-August 2010

          “Statutory Qualifications on Appointments: Congressional and Constitutional Choices,” Public
          Administration Quarterly, vol. 34, summer 2010

          “Executive Privilege: The Bush Record and Legacy,” American Review of Politics, vol. 29, fall
          2008 (With Mark J. Rozell)

          “Executive Privilege and U.S. Attorneys’ Firings,” Presidential Studies Quarterly, vol. 38, June
          2008 (With Mark J. Rozell) Republished in Understanding the Presidency, James P. Pfiffner and
          Roger H. Davidson eds. (Longman, 6th edition, 2010)

          “Executive Privilege and the Bush Administration,” Journal of Law & Politics, vol. 24, winter
          2008 (With Mark J. Rozell)
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          “The President ‘Shall Nominate’: Exclusive or Shared Constitutional Power?” Presidential
          Studies Quarterly, vol. 36, December 2006

          “Must the Senate Take a Floor Vote on a Presidential Judicial Nominee?” Presidential Studies
          Quarterly, vol. 34, June 2004

    _____________________________________________________________________________________
    Book Chapters

          “Michigan’s Governor and Executive Branch,” in John S. Klemanski and David A. Dulio, eds.,
          Michigan Government, Politics and Policy (University of Michigan Press, 2017)

          “The Power to Advise and Consent,” in Brien Hallett, ed., The Powers of U.S. Congress: Where
          Constitutional Authority Begins and Ends (ABC-CLIO, 2016)

          “Presidential and Congressional Relations: An Evolution of Military Appointments,” in Colton
          Campbell and David Auerswald eds., Congress and Civil-Military Relations (Georgetown
          University Press, 2015)

          “Resolved, Presidential ‘Czars’ Undermine Congress and the Constitution,” in Richard J. Ellis
          and Michael Nelson, eds., Debating the Presidency: Conflicting Perspectives on the American
          Executive (CQ Press 2014) (With Mark J. Rozell)

          “The Unitary Executive Theory and the Bush Legacy” in Taking the Measure: The Presidency of
          George W. Bush, Donald R. Kelley and Todd G. Shields, eds. (Texas A&M University Press,
          2013) (With Mark J. Rozell)

          “The Unitary Executive and Secrecy in the Bush Presidency: The Case of the Energy Task Force
          Controversy” in The Unitary Executive and the Modern Presidency, Ryan Barilleaux and
          Christopher Kelly eds. (Texas A&M University Press, 2010) (With Mark J. Rozell)

          “Beyond The Watergate Taint II: George W. Bush, Barack Obama, and the Growing Discord
          Over Executive Privilege” in Executive Privilege: Presidential Power, Secrecy, and
          Accountability (University Press of Kansas, 2010) (With Mark J. Rozell)

           “Executive Privilege and U.S. Attorneys’ Firings,” in Understanding the Presidency, James P.
          Pfiffner and Roger H. Davidson eds. (Longman, 6th edition, 2010) (With Mark J. Rozell) First
          published in Presidential Studies Quarterly, vol. 38, June 2008

          “Executive Privilege: The Bush Record and Legacy,” in Testing the Limits: George W. Bush and
          the Imperial Presidency, Mark J. Rozell and Gleaves Whitney, eds. (Rowman & Littlefield, 2009)
          (With Mark J. Rozell)

          “Executive Privilege and the Unitary Executive Theory in the George W. Bush Administration,”
          in Rivals for Power, James Thurber, ed. (Rowman & Littlefield, 2009) (With Mark J. Rozell)

          “Reagan and the Courts” in The Reagan Presidency, Paul Kengor, ed. (Rowman & Littlefield,
          2005) (With Jack Rossotti and Mark J. Rozell)


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    Additional Writings

           “President Biden: Open the White House virtual visitor logs: Campaign promises of improving
           transparency have yet to fully materialize,” Roll Call, April 2, 2021 (With Mark J. Rozell)

           “How Biden can end executive order ping-pong,” The Hill, January 20, 2021 (With Jeffrey
           Crouch and Mark J. Rozell)

           “A Judicial Win for Executive Privilege, Not Transparency,” The Hill, September 23, 2020 (With
           Mark J. Rozell)

           “A Supreme Court Compromise? How Republicans and Democrats could fairly fill Ruth Bader
           Ginsburg’s seat,” New York Daily News, September 22, 2020 (With Mark J. Rozell)

           “Does the country need a coronavirus testing czar? Not really,” The Hill, April 25, 2020 (With
           Mark J. Rozell)

           “Can Executive Privilege Prevent Bolton’s Testimony,” Law & Liberty, Jan. 21, 2020 (With
           Mark J. Rozell)

           “Trump’s Executive Privilege Claims: Where we go from here,” New York Daily News, May 13,
           2019 (With Mark J. Rozell)

           “Congress is Right to Probe Trump White House Security Clearances. Hand Over the
           Documents,” USA Today, March 24, 2019 (With Mark J. Rozell).

           “Why Trump Can’t Bury the Mueller Report by Claiming Executive Privilege.” New York Daily
           News, February 21, 2019 (With Mark J. Rozell).

           “Open all the Trump visitor logs, starting with the White House.” USA Today, Aug. 1, 2017
           (With Mark J. Rozell).

           Book review of Nathan B. Oman’s “The Dignity of Commerce: Markets and the Moral
           Foundations of Contract Law,” Choice, September 2017.

           “Mr. President: Cooperation with Russian Investigation is your best Play,” The Hill, May 26,
           2017 (With Mark J. Rozell)

           Book review of William E. Leuchtenburg’s “The American President: From Teddy Roosevelt to
           Bill Clinton,” Indiana Magazine of History, May 2017, pp. 96-98.

           “Presidential Secrecy and Transparency in the Age of Trump.” The Hill, Jan. 17, 2017 (With
           Mark J. Rozell)

           Book review of Ken Gormley’s “The Presidents and the Constitution: A Living History,” Choice,
           October 2016.

           “Policy Czars Already Have Too Much Power. Trump Would Make That Worse.” Washington
           Post: In Theory, March 30, 2016 (With Mark. J. Rozell)

           “Taking Executive Privilege Too Far,” The Hill, Feb. 16, 2016 (With Mark J. Rozell)
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          “Presidents and Executive Privilege,” in Melvin Dubnick and Domonic Bearfield, eds.,
          Encyclopedia of Public Administration and Public Policy (In press) (With Mark J. Rozell)

          Book review of Heidi Kitrosser’s “Reclaiming Accountability: Transparency, Executive Power,
          and the U.S. Constitution,” Choice, September 2015

          Book review of Thomas E. Brennan’s “The Article V Amendatory Constitutional Convention:
          Keeping the Republic in the Twenty-First Century,” Choice, May 2015

          “Why Congress Needs to Keep Up Heat on Clinton Emails,” The Hill, March 20, 2015 (with
          Mark J. Rozell)

          “Obama: The Art of Disguised Unilateralism,” The Hill, Dec. 23, 2014 (with Mark J. Rozell)

          “An Ebola Czar? Not So Fast,” The Hill, Oct. 17, 2014 (with Mark J. Rozell)

          “Brief For Amici Curiae Former U.S. Government Officials in Support of Respondent," in the
          U.S. Supreme Court case of Department of Homeland Security v. Robert J. MacLean, Sept. 29,
          2014 (With Marion E. Bowman, Teresa C. Chambers, Lou Fisher, Michael German, Lisa Graves,
          Lawrence Korb, J. William Leonard, Patrice McDermott, Mandi Murray, Molly Bishop Shadel,
          Bryan Siebert, and Andrew Wright)

          “Another White House-Congress Collision Course?” The Hill, July 21, 2014 (with Mark J.
          Rozell)

          “An Executive Privilege Gone Too Far,” The Hill, June 19, 2014 (with Mark J. Rozell)

          Book review of John Prados’s “The Family Jewels: the CIA, Secrecy, and Presidential Power,”
          Choice, June 2014

          Book review of J. David Alvis, Jeremy D. Bailey, and F. Flagg Taylor IV’s “The Contested
          Removal Power, 1789-2010,” Congress & the Presidency, vol. 41, summer 2014

          “If It’s Executive Privilege, Then Say So,” The Hill, March 20, 2014 (with Mark J. Rozell)

          “The President’s Strained Argument for Privilege,” Roll Call, March 13, 2014 (With Mark J.
          Rozell)

          Book review of Louis Michael Seidman’s “On Constitutional Disobedience,” Choice, Dec. 2013

          “Obama Administration Needs to Renew its Pledge to Greater Transparency,” The Hill, Nov. 21,
          2013 (with Mark J. Rozell)

          “Park Testimony Was Critical to Tamp Down Interbranch Acrimony,” Roll Call, Nov. 15, 2013
          (with Mark J. Rozell)

          Book review of Brien Hallett’s “Declaring War: Congress, the President, and What the
          Constitution Does Not Say,” Choice, Sept. 2013

          “‘Fast and Furious’ Requires a Judicial Resolution,” The Hill, June 5, 2013 (with Mark J. Rozell)
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          “A Review of ‘Presidential Term Limits in American History: Power, Principles & Politics,’”
          Congress & the Presidency, vol. 40, winter 2013

          “Time To Compromise on Fast and Furious Resolution?” Roll Call, Jan. 3, 2013 (with Mark J.
          Rozell)

          “Presidential ‘Czars’: A Constitutional Aberration.” History News Network, Oct. 29, 2012 (with
          Mark J. Rozell)

          “Why Stonewall Congress in Fast and Furious Scandal?” CNN, June 28, 2012 (with Mark J.
          Rozell)

          “Obama’s Unconvincing Claim of Executive Privilege,” New York Daily News, June 21, 2012
          (with Mark J. Rozell)

          “No Choice: Contempt for Eric Holder,” Roll Call, June 11, 2012 (with Mark J. Rozell)

          “Obama’s Transparency Is Only a Masquerade,” Roll Call, April 19, 2012 (with Mark J. Rozell)

          “Obama Mirrors Bush in Signing Statements,” Roll Call, Jan. 19, 2012 (with Jeffrey Crouch and
          Mark J. Rozell)

          “Presidential Records Plan Sets a Worrisome Precedent,” Roll Call, Nov. 28, 2011 (with Mark J.
          Rozell)

          “No Executive Privilege for Obama’s BlackBerry,” Roll Call, Oct. 24, 2011 (with Mark J.
          Rozell)

          “Obama Must Fulfill Transparency Promise,” Roll Call, Oct. 5, 2011 (with Mark J. Rozell)

          “Obama’s Promises Not Kept,” Politico, April 29, 2011 (with Mark J. Rozell)

          “Congress Should Deal With Unchecked Czars,” Roll Call, Feb. 1, 2011 (with Mark J. Rozell)

          “Senate Needs Full Access to Kagan Files,” Roll Call, June 21, 2010 (with Mark J. Rozell)

          “Administration Jeopardizes Open Government,” Roll Call, May 3, 2010 (with Mark J. Rozell)

          “Congress, 1784-1840,” in the Encyclopedia of U.S. Political History, Michael A. Morrison ed.,
          vol. 2 (Washington, DC: CQ Press, 2010) (with Kyle Barbieri)

          “State-Federal Relations, 1976-2008,” in the Encyclopedia of U.S. Political History, Richard
          Valelly ed., vol. 7 (Washington, DC: CQ Press, 2010) (with Kyle Barbieri)

          “Beware of the Collapse of the ‘Open Presidency,’” Roll Call, Oct. 29, 2009 (With Mark J.
          Rozell)

          “Georgia’s Influence on the U.S. Senate’s Customs and Procedures: A Reassessment of the
          Rejection of Benjamin Fishbourn and the Origin of Senatorial Courtesy,” Georgia Historical
          Quarterly, summer 2009
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          “Congress Needs to Reassert Its War Powers,” Roll Call, March 17, 2009.

          “End the Nonsense, Make Rove Testify,” Politico, March 6, 2009 (With Mark J. Rozell)

          “Taking Executive Privilege to Absurd Levels?” Roll Call, Feb. 6, 2009 (With Mark J. Rozell)

          “Obama Opens the Books,” Politico, Feb. 2, 2009 (With Mark J. Rozell)

          Amicus Brief filed in the case of Committee on the Judiciary v. Harriet Miers, et al., Civil No.
          1:08-cv-00409 (D.D.C. 2008) (With Thomas E. Mann, Norman J. Ornstein, and Mark J.
          Rozell)

          “Alex Kozinski,” in Great American Judges, John Vile ed. (ABC-CLIO, 2003)

    ____________________________________________________________________________________
    Teaching Experience

          Undergraduate Courses: Constitutional Law I (fall 2006, winter 2009, winter 2011, fall 2013),
          Constitutional Law II (spring 2007, fall 2009, fall 2010, winter 2013), Constitution and National
          Security (fall 2010, winter 2012), Introduction to American Politics (two courses, fall 2006; two
          courses, spring 2007; two courses, fall 2008; winter 2009; fall 2009, winter 2010, fall 2010,
          winter 2011, winter 2012, fall 2012, winter 2013), Judicial Process (fall 2006, fall 2007, spring
          2008, fall 2008, summer 2012), Media and Politics (TA, spring 2003), The American Chief
          Executive/Presidency (fall 2009, fall 2012)

          Graduate Courses: Administrative Law (spring 2007, winter 2010, winter 2011, winter 2012,
          winter 2013)

    _____________________________________________________________________________________
    Conferences and Presentations

          “Executive Privilege in the Trump Presidency,” Paper presented at the 2019 Annual Meeting of
          the American Political Science Association Conference, August 31, 2019, Washington, DC (with
          Mark Rozell)

          “Unitary Executive and Theories of Executive Power,” Paper presented at the 2017 Annual
          Meeting of the Southern Political Science Association Conference, January 12-14, 2017, New
          Orleans, LA (with Jeff Crouch and Mark J. Rozell)

          “President Obama’s Signing Statements and the Unitary Executive Theory.” Paper presented at
          the 2012 Annual Meeting of the Southern Political Science Association Conference, January 12-
          14, 2012, New Orleans, LA (with Jeff Crouch and Mark J. Rozell).

          “The Unitary Executive Theory and the Bush Legacy.” Paper presented at the Fulbright Institute
          conference on the George W. Bush presidency, University of Arkansas, April 20-22, 2011,
          Fayetteville, AR.

          “Executive Privilege and the Unitary Executive Theory.” Paper presented at the Southern
          Political Science Association Annual Conference, January 8, 2009, New Orleans, LA.
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          “The George W. Bush Legacy.” Roundtable participant at the Southern Political Science
          Association conference, January 8, 2009, New Orleans, LA.

           “Executive Privilege: Bush and Presidential Secrecy.” Paper presented at the Hauenstein Center
          for Presidential Studies conference “Bush: Legacy & Lessons.” Grand Valley State University,
          November 14, 2008, Grand Valley, MI. (Conference repeated in Washington, DC on Dec. 12,
          2008).

          “Boumediene and the War on Terror.” Roundtable participant at the Michigan Conference of
          Political Scientists, Eastern Michigan University, October 17, 12008, Ypsilanti, MI.

          “Polarization of the Federal Appointment Process.” Presentation at the Washington Program,
          American University, February 12, 2008, Washington, DC.

    _____________________________________________________________________________________
    University and Professional Service

          Member, Political Science program review/self-study committee, Fall 2019-Winter 2020.
          Panelist, “Presidential Power in the Age of Impeachment,” UMD, CASL, Political Science
                   Faculty Forum on President Donald Trump’s Impeachment, Dec. 3, 2019
          Panelist, “President Trump: How I Learned to Stop Worrying and Love the Craziness,” UMD,
                   Retired Faculty and Staff Association, 2016 Election Assessment, Oct. 11, 2017
          Panelist, “Presidential Power and the Election,” UMD, Retired Faculty and Staff Association,
                   2016 Election Analysis, Oct. 12, 2016
          Panelist, “Supreme Court Nomination’s Impact on the Election and Donald Trump,” UMD,
                   CASL, Political Science Faculty Forum on 2016 Presidential Election, March 30, 2016
          Reviewer, Administration & Society (2012), American Journal of Political Science (2013),
                   Journal of Law and Courts (2012), Journal of Policy History (2013), Legislative Studies
                   Quarterly (2010), National Science Foundation (2011), Oxford University Press (2012),
                   Political Research Quarterly (2011), Presidential Studies Quarterly (2012 & 2008),
                   University Press of Kansas (2013) and University of Wisconsin Press (2012)
          Political Science Discipline Representative, Social Sciences Department Executive Council,
                   UMD, CASL, September 2012-August 2013
          Member, PEP Founders Committee (Best Conf. Paper by Ph.D. Scholar for 2012-2013), APSA,
                   Presidency Section, Sept. 2012-March 2013
          Member, College of Education, Health, and Human Services By-Laws Committee, UMD,
                   Provost Office, Feb. 2013-June 2013
          Member, Curriculum Committee, UMD, CASL, March-April 2013
          Chair, Environmental Politics Search Committee, UMD, Political Science Discipline, Sept.
                   2012-Nov. 2012
          Panelist, “The Election and National Security,” UMD, CASL, Political Science Faculty Forum on
                   2012 Presidential Election, Oct. 24, 2012
          Reviewer, Wayne State University’s Master of Law in United States Law, UMD, Provost Office,
                   May 2012
          Panelist, Best Practices in the Development and Teaching of Hybrid Graduate
                   Programs, UMD, CASL, April 1, 2011
          Representative-At-Large, Social Sciences Department Executive Council, UMD, CASL,
                   2010-2012
          Panelist, “Is the Health Care Law Constitutional?” UMD, CASL, Faculty Forum on Health Care
                   Reform, April 16, 2010.
          Member, 50 Difference Makers Award Committee, UMD, CASL, Feb. 2010
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            Panelist, “Obama at 1: Transition to Governance,” UMD, Political Science Faculty Forum, Jan.
                     14, 2010
            Committee member, MPP Five Year Review, UMD, fall 2009-winter 2010
            Panelist, Amnesty International Anti-Discrimination Seminar, “Citizenship and the Constitution,”
                     UMD, Dec. 10, 2009
            Co-Director, Social Sciences Research Colloquium, UMD, September 2008-2009
            Faculty Advisor, College Republicans, UMD, September 2008-September 2010
            Panelist, “The Future of the Courts,” UMD, CASL, Faculty Forum on the Presidential Election,
                     fall 2008
            Faculty Advisor, Law Society, BGSU, fall 2006-spring 2007
            Panelist, Law Society, “Homosexual Rights,” BGSU, spring 2007
            Panelist, Constitution Day Panel Discussion, “Domestic Wiretapping: Liberty vs.
                     Security,” BGSU, fall 2006
    ________________________________________________________________________
    Professional Memberships

            American Political Science Association; Law and Courts (Organized section in APSA); American
            Society for Legal History; American Judicature Society; Supreme Court Historical Society
